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				CLARK v. FARRIS2015 OK 62Case Number: 114157Decided: 10/05/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 62, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL.



HERMAN TRACY CLARK, Plaintiff/Appellant,
v.
JIM FARRIS, Warden, Defendant/Appellee.




¶0 ORDER 


¶1 Clark's filings in this Court seek both remedies of appellate jurisdiction and original jurisdiction review of a District Court's order. In the District Court, he sought a writ of habeas corpus to challenge his judgment and sentence in a criminal proceeding and the District Court dismissed his petition.

¶2 A District Court's order dismissing, or granting, or denying a petition for habeas corpus is not reviewed using this Court's civil appellate jurisdiction when the habeas corpus remedy was used to challenge a previous order of incarceration or commitment in a criminal proceeding. Dutton v. City of Midwest City, 2015 OK 51, ¶ 21, 353 P.3d 532; State of Oklahoma v. Powell, 2010 OK 40, ¶¶ 4, 8, 237 P.3d 779. No civil appellate jurisdiction is invoked by Clark's filings herein that seek review of an order in a District Court proceeding brought to attack his criminal conviction.

¶3 Clark seeks the alternative remedy of original jurisdiction review by requesting habeas corpus relief. We assume original jurisdiction for the sole purpose to determine if this Court has habeas corpus jurisdiction to address the merits of Clark's claims challenging his criminal conviction. We decline to assume original jurisdiction on the merits of Clark's claims because they do not invoke any request for relief within this Court's civil original jurisdiction. Dutton v. City of Midwest City, 2015 OK 51, ¶¶ 21-29, 32-36.

¶4 Clark's appeal is dismissed, and original jurisdiction is assumed in part and denied in part, and petition for writ of habeas corpus is denied.

¶5 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 5TH DAY OF OCTOBER, 2015.


/S/CHIEF JUSTICE 



¶6 REIF, C.J., COMBS, V.C.J., KAUGER, WINCHESTER, EDMONDSON, TAYLOR, COLBERT, and GURICH, JJ., concur.

¶7 WATT, J., disqualified.







	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2010 OK 40, 237 P.3d 779, STATE v. POWELLDiscussed
&nbsp;2015 OK 51, 353 P.3d 532, DUTTON v. CITY OF MIDWEST CITYDiscussed at Length


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
